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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Lester Einhaus
                                       Plaintiff,
v.                                                        Case No.: 1:17−cv−04478
                                                          Honorable Sara L. Ellis
Textmunication Holdings, Inc
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 14, 2018:


       MINUTE entry before the Honorable Sara L. Ellis: Motion hearing held on
6/14/2018. Motion to dismiss [37] is denied as moot. The Court grants Plaintiff's oral
motion to reassign case 18 C 2421. Case 18 C 2421 is ordered to be reassigned to Judge
Sara L. Ellis as related to case number 17 C 4478. Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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